Case 4:07-cv-05944-JST Document 5719-5 Filed 05/07/20 Page 1 of 2

Exhibit E

Text Only Entry Generated by the Court - Order Rejecting the
ORS Errata and Refusing to Entertain Any Motion to Vacate Prior
Settlement, entered on October 18, 2019 (Docket No. 5632)
Case 4:07-cv-05944-JST Document 5719-5 Filed 05/07/20 Page 2 of 2

U.S. District Court
California Northern District

Notice of Electronic Filing

The following transaction was entered on 10/18/2019 at 5:06 PM and filed on 10/18/2019

Case Name: MDL No. 1917 In Re: Cathode Ray Tube (CRT) Antitrust Litigation
Case Number: 4:07-cv-05944-JST
Filer:

Document Number: 5632(No document attached)

Docket Text:

ORDER

This order responds to the letter filed today on behalf of the IPP Plaintiffs, ECF No. 5631, and
the errata filed by the ORS Plaintiffs, ECF No. 5619. The errata purports to revive the ORS
Plaintiffs’ request to vacate the IPP settlement. /d. The errata does not constitute a notice of
motion as required by the Court's August 9, 2019 order. ECF No. 5551. Moreover, even if the
Court were to construe the errata as a notice, it would be ineffective to place the motion on
calendar. The errata was filed on October 11, 2019 and gives a hearing date of October 23,
2019. Pursuant to Civil Local Rule 7-2(a), “all motions must be filed, served and noticed in
writing on the motion calendar of the assigned Judge for hearing not less than 35 days after
filing of the motion." October 23 is not 35 days after October 11. For these reasons, the Court
will not take further action regarding the errata and no party is required to respond to it. The
parties are further advised that the Court will not entertain any motion to vacate the prior
settlement until after the Court has resolved the IPPs' pending motion to reconsider and
amend that settlement, ECF No. 5587, because consider of the latter may moot the former.

IT |S SO ORDERED.

(This is a text-only entry generated by the court. There is no document associated with this
entry.(Entered by Judge Jon S. Tigar) (Filed on 10/18/2019)
